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                                      12
F ENWICK & W ES T LLP




                                      13                            UNITED STATES DISTRICT COURT
                        LAW
                         AT




                                      14                          CENTRAL DISTRICT OF CALIFORNIA
                        ATTO RNEY S




                                      15                                      WESTERN DIVISION
                                      16
                                      17 ALS SCAN, INC.,                               Case No.: 2:16-cv-05051-GW-AFM
                                      18                     Plaintiff,                STIPULATION OF DISMISSAL
                                                                                       OF CLAIMS AND ACTION OF
                                      19         v.                                    ALS SCAN, INC. AGAINST
                                      20                                               CLOUDFLARE, INC. WITHOUT
                                           CLOUDFLARE, INC., et al.,                   PREJUDICE
                                      21
                                                             Defendants.
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                                           STIPULATION OF DISMISSAL OF CLAIMS AND                CASE NO. 2:16-CV-05051-GW-AFM
                                           ACTION OF ALS SCAN, INC. AGAINST
                                           CLOUDFLARE, INC. WITHOUT PREJUDICE
                             Case 2:16-cv-05051-GW-AFM Document 540 Filed 06/20/18 Page 2 of 2 Page ID #:15330



                                       1         ALS Scan, Inc. and Cloudflare, Inc. hereby stipulate to dismissal without
                                       2 prejudice of the claims and action against Cloudflare, Inc., with each side bearing
                                       3 its own attorney’s fees, costs, and expenses.
                                       4         These parties agree, subject to the Court’s approval, to the Court’s continuing
                                       5 jurisdiction over the case for the purpose of adjudicating any disputes relating to the
                                       6 settlement agreement.
                                       7         A proposed order accompanies this stipulation.
                                       8   Dated: June 20, 2018                              Respectfully submitted,
                                       9                                                     FENWICK & WEST LLP
                                                                                             By: /s/ Andrew P. Bridges
                                      10                                                         Andrew P. Bridges
                                      11                                                     Attorneys for Defendant
                                      12                                                     CLOUDFLARE, INC.
F ENWICK & W ES T LLP




                                      13
                        LAW




                                           Dated: June 20, 2018                              SPILLANE LAW GROUP PLC
                         AT




                                      14                                                     By: /s/ Jay M. Spillane
                        ATTO RNEY S




                                                                                                 Jay M. Spillane
                                      15
                                                                                             Attorneys for Plaintiff
                                      16                                                     ALS SCAN, INC.
                                      17
                                      18                                            ATTESTATION
                                      19         In accordance with Local Rule 5-4.3.4, I attest that I obtained concurrence in
                                      20 the filing of this document from Jay M. Spillane, counsel of record for ALS Scan,
                                      21 Inc.
                                                                                        /s/ Andrew P. Bridges
                                      22                                               Andrew P. Bridges
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                                           STIPULATION OF DISMISSAL OF CLAIMS AND        1                  CASE NO. 2:16-CV-05051-GW-AFM
                                           ACTION OF ALS SCAN, INC. AGAINST
                                           CLOUDFLARE, INC. WITHOUT PREJUDICE
